                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE                       Motion GRANTED.
                               NORTHWESTERN DIVISION


UNITED STATES OF AMERICA

VS.                                                  NO. 2:13-cr-00002-02
                                                     JUDGE TRAUGER
CHRISTOPHER SADLER

                         MOTION TO JOIN CO-DEFENDANT’S
                    MOTION TO CONTINUE TRIAL AND RESCHEDULE
                            THE CHANGE OF PLEA DATE

       Comes counsel for the Defendant, Christopher Sadler, to join in the Motion to continue

Trial filed by co-defendant Michael Jenkins, and would show for good grounds the following:

       1.      On December 9, 2013, the Court set trial of this matter to be heard on January 28,

       2014. (DE 30) On January 16, 2014, the Grand Jury returned a superceding indictment

       against the defendants. (DE 33) On January 21, 2014, the counsel for co-defendant Michael

       Jenkins filed a motion to continue trial and to reschedule the change of plea date. (DE 35)

       2.      On behalf of Christopher Sadler, undersigned counsel joins in the motion to continue

       for the same grounds as submitted by co-defendant Michael Jenkins.

       3.      Attached to this Notice is a Waiver of Speedy Trial signed by Mr. Christopher Sadler.

       4.       Mr. Sadler joins in the Motion to Continue Trial and Reschedule the Change of Plea

            Date.

Respectfully submitted,
/s/ Thomas J. Drake, Jr.
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   Case 2:13-cr-00002        Document 38       Filed 01/22/14      Page 1 of 1 PageID #: 61
